             Case 2:16-cr-00007-RSM Document 459 Filed 11/05/20 Page 1 of 4




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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE

 8    UNITED STATES OF AMERICA,
                                                      CASE NO. CR16-07RSM
 9
                     Plaintiff
10                                                    ORDER DENYING DEFENDANT
             v.                                       LILLARD’S MOTION FOR
11                                                    RECONSIDERATION RE:
      LONNIE EUGENE LILLARD,                          COMPASSIONATE RELEASE
12
                     Defendant.
13

14
            This matter comes before the Court on Defendant Lonnie Eugene Lillard’s Motion for
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     Reconsideration. Dkt. #458. Mr. Lillard moves for reconsideration of the Court’s Order denying
16

17   his Motion to Reduce Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A), Dkt. #446.

18          Motions for reconsideration are disfavored. CrR 12(b)(13). The court will ordinarily

19   deny such motions in the absence of a showing of manifest error in the prior ruling or a showing
20   of new facts or legal authority which could not have been brought to its attention earlier with
21
     reasonable diligence. Id.
22
            Pursuant to 18 U.S.C. § 3582(b), a judgment of conviction that includes a sentence of
23
     imprisonment “constitutes a final judgment and may not be modified by a district court except in
24

25   limited circumstances.” Dillon v. United States, 560 U.S. 817, 824 (2010) (internal quotations

26   omitted). Those limited circumstances are provided under 18 U.S.C. § 3582(c)(1)(A)(i).

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     ORDER DENYING DEFENDANT LILLARD’S MOTION FOR RECONSIDERATION – 1
                Case 2:16-cr-00007-RSM Document 459 Filed 11/05/20 Page 2 of 4




            Effective December 21, 2018, the First Step Act of 2018 amended Section 3582(c)(1)(A)
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 2   by adding a provision that allows prisoners to directly petition a district court for compassionate

 3   release:

 4                  (A) the court, upon motion of the Director of the Bureau of Prisons,
                    or upon motion of the defendant after the defendant has fully
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                    exhausted all administrative rights to appeal a failure of the Bureau
 6                  of Prisons to bring a motion on the defendant’s behalf or the lapse
                    of 30 days from the receipt of such a request by the warden of the
 7                  defendant's facility, whichever is earlier, may reduce the term of
                    imprisonment (and may impose a term of probation or supervised
 8                  release with or without conditions that does not exceed the unserved
                    portion of the original term of imprisonment), after considering the
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                    factors set forth in section 3553(a) to the extent that they are
10                  applicable, if it finds that—

11                  (i) extraordinary and compelling reasons warrant such a reduction;
12                  or
13
                    (ii) the defendant is at least 70 years of age, has served at least 30
14                  years in prison, pursuant to a sentence imposed under section
                    3559(c), for the offense or offenses for which the defendant is
15                  currently imprisoned, and a determination has been made by the
                    Director of the Bureau of Prisons that the defendant is not a danger
16                  to the safety of any other person or the community, as provided
17                  under section 3142(g);

18                  and that such a reduction is consistent with applicable policy
                    statements issued by the Sentencing Commission . . . .
19
     18 U.S.C. § 3582(c)(1)(A) (italics reflecting amendment under First Step Act).
20

21          On October 8, 2020, this Court issued an Order denying Mr. Lillard’s Motion for

22   Compassionate Release, finding that he had exhausted his administrative remedies but that his

23   Motion was procedurally invalid because it had not “set forth extraordinary and compelling
24   reasons, instead his claim is a collateral challenge to his conviction (for which he currently has a
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     pending appeal).” Dkt. #446 at 3. The Court refused to consider Mr. Lillard’s tangential
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     reference to COVID-19 health concerns on procedural grounds. Id. The Court refused to
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     ORDER DENYING DEFENDANT LILLARD’S MOTION FOR RECONSIDERATION – 2
              Case 2:16-cr-00007-RSM Document 459 Filed 11/05/20 Page 3 of 4




     consider Mr. Lillard’s subsequently filed addendum/supplement on procedural grounds. Id. at
 1

 2   3–4.

 3          In this Motion, Mr. Lillard points to § 3582 cases raising COVID-19 concerns from the

 4   2nd, 4th, and 10th Circuits as “intervening change in law.” Dkt. #458 at 4–5. These cases turned
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     on the individual facts presented in those cases and, in any event, are not controlling law. The
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     Court finds that this is not a basis to grant a motion for reconsideration here.
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            Mr. Lillard next argues the Court engaged in “manifest error of fact” by stating that it had
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     the “distinct impression” that Mr. Lillard’s COVID-19 argument should not be addressed. Id. at
 9

10   7. Mr. Lillard states he “argued the COVID-19 should not be considered under the extraordinary

11   and compelling circumstances – ONLY BECAUSE HE DID NOT EXHAUST HIS REMEDY
12   AND PRESENT SUCH ISSUE TO THE WARDEN AT THE TIME WHEN HE FILED HIS §
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     3582 MOTION.” Id. at 8 (emphasis in original). Mr. Lillard now argues that COVID-19 should
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     have been considered as a § 3553 factor that was not available at the time of sentencing. Id. Mr.
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     Lillard asserts that he has now exhausted his administrative remedies and maintains that the Court
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17   erred by not allowing the Government an opportunity to respond to an addendum that he filed

18   after the underlying Motion was noted for consideration. Id. at 9. Mr. Lillard hopes to avoid

19   filing a “whole new SECOND Compassionate Release Motion to address the COVID-19…” Id.
20   at 10 (emphasis in original).
21
            The Court finds that its decision to address only those claims for which Mr. Lillard had
22
     exhausted his administrative remedies was a sound one. The First Step Act includes the
23
     exhaustion requirement not as a pointless procedural hurdle, but to allow the Bureau of Prisons
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25   an opportunity to consider the issues in a request for compassionate release. Mr. Lillard did not

26   raise his COVID-19 concerns in his initial request to the Warden and the Court was not permitted

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     ORDER DENYING DEFENDANT LILLARD’S MOTION FOR RECONSIDERATION – 3
              Case 2:16-cr-00007-RSM Document 459 Filed 11/05/20 Page 4 of 4




     to consider them at the time under 18 U.S.C. § 3582(c)(1)(A). To the extent Mr. Lillard hoped
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 2   to put such issues before the Court by filing an addendum, it is well within the Court’s discretion

 3   to set procedural rules for the filing of briefing and to deny a motion for violating those

 4   procedures, as Mr. Lillard attempted to do. The Court’s interpretation of Mr. Lillard’s actual
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     briefing on the Motion, including his apparent efforts to have the Court not consider COVID-19
 6
     health issues at the time, was not manifest error. If Mr. Lillard wishes to file a second motion
 7
     for compassionate release to address COVID-19 issues he is free to do so.
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            Having reviewed the applicable briefing, along with the remainder of the record, the
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10   Court hereby finds and ORDERS that Defendant Lillard’s Motion for Reconsideration, Dkt.

11   #458, is DENIED.
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            DATED this 5th day of November, 2020.
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17                                                 A
                                                   RICARDO S. MARTINEZ
18                                                 CHIEF UNITED STATES DISTRICT JUDGE

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     ORDER DENYING DEFENDANT LILLARD’S MOTION FOR RECONSIDERATION – 4
